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AO 91 (Rev. 11/11) Criminal Complaint United States District Court
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FILED
UNITED STATES DISTRICT COURT
for the AUG 0 2 2020
Southern District of Texas David J. Bradley, Clerk
United States of America )
Vv. ) _ /
)  CaseNo. M-90-1 YS eM
Jason CAVAZOS )
(U.S.C. / YOB 1979) ) ;
. )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s). of July 31, 2020 in the county of - Hidalgo in the
-Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC 922(g)(1) Unlawful to possess a firearm which has previously traveled in or affected

interstate commerce, after having been convicted in a court of law of a crime
punishable by imprisonment for a term exceeding one year.

This criminal complaint is based on these facts:

See Attached Affidavit

Submitted by reliable electronic means, sworn to, and attested to telephonically, per Fed. R. Cr. P. 4.1, and probable
cause found on:

Continued on the attached sheet.

/S/ Christopher Quijano

Complainant’s signature

 

Approved by AUSA Robert Guerra Christopher Quijano, Special Agent, ATF
Printed name and title

Sworn to before me and signed in my presence.

dge’s signature
City and state: McAllen, Texas _scott Hacker, U.S. Magistrate Judge

 

Printed name and title
 

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ATTACHMENT A

I, Special Agent Christopher Quijano, affiant, do hereby depose and state the
following: .

On July 31, 2020, Agents from the Drug Enforcement Administration (DEA) were
assisting Officers from the Edinburg Police Department conduct surveillance as part
of a narcotics investigation. While conducting surveillance, Edinburg PD conducted
a traffic stop on a silver Hyundai Elantra for failure to drive in a single lane. |
Upon approaching the vehicle, law enforcement identified the driver as Jason Eric
CAVAZOS (hereinafter referred to as CAVAZOS). CAVAZOS was acting abnormally
nervous and law enforcement asked.him to step out of the vehicle and conducted
a “pat down” of CAVAZOS for purposes of officer safety. The pat down revealed a
Smith and Wesson Smith & Wesson, model Bodyguard 380, .380 caliber pistol,
bearing serial number EAK5654 in CAVAZOS’ left front waistband. When asked if he
possessed a license to carry a firearm, CAVAZOS admitted that he did not possess
a concealed firearms permit, and further stated that he was a convicted felon.

A criminal history check of CAVAZOS revealed CAVAZOS was previously convicted
of the State Jail Felony offense of Possession of a Controlled Substance on April8,
_ 2019 in the 430" Judicial District Court of Hidalgo County in Case Number CR-2552-
_17-J. This offense is.a crime punishable.by more than one year in prison.

Agents for the Bureau of Alcohol, Tobacco, and Firearms (ATF), were contacted and
arrived to interview CAVAZOS. In a post-Miranda interview, CAVAZOS admitted to
being a convicted felon, and possessing the firearm for personal protection.

ATF Interstate Nexus Expert Noel R. Rangel was contacted for an Interstate Nexus
determination on Smith & Wesson, model Bodyguard 380, .380 caliber pistol,
bearing serial number EAK5654. The ATF Interstate Nexus Expert determined that
the firearm was found to be manufactured outside of the state of Texas and affects
interstate or foreign commerce. The firearm is involved ina violation of 18 USC §
922(6)(2).
